                 Case 15-12456                   Doc 2           Filed 10/15/15      Entered 10/15/15 11:04:25                 Desc Main
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                                                                                                                                                   FORM NO. 2
                                                              United States Bankruptcy Court
                                                                     Western District of Tennessee
            Donald R. East, Sr.
 In re      Shelia M. East                                                                                      Case No.
                                                                                  Debtor(s)                     Chapter    13


                                                                   CHAPTER 13 PLAN
                                                        (INDIVIDUAL ADJUSTMENT OF DEBTS)
 DEBTOR(S):                                       (H) Donald R. East, Sr.              S.S.#                        xxx-xx-0551
                                                  (W) Shelia M. East                   S.S.#                        xxx-xx-8961
 ADDRESS:                                         1002 Moody Drive
                                                  Dyersburg, TN 38024
 PLAN PAYMENT:                                    Debtor(s) to pay $ 2,251.00                      ( monthly)
 PAYROLL DEDUCTION:                                                                OR (x ) DIRECT PAY
                                                  BECAUSE: retired
                                                  FIRST PAYMENT DATE:             11/1/15
 PLACE OF EMPLOYMENT:                                                                    Spouse's Employer:
 ADMINISTRATIVE:                                  Pay filing fee, Trustee's fee, and debtor's attorney fee, pursuant to Court Order.
                                                                                                                                           MONTHLY
                                                                                                                                           PLAN PMT.
 AUTO INSURANCE:                                   (x ) Not included in Plan ( ) Included in Plan                                      $               -NONE-
 CHILD SUPPORT:                                   Future support through Plan to                                                       $               -NONE-
                                                  Child support arrearage amount                                                       $
 PRIORITY CREDITORS:                              -NONE-                                                                               $               -NONE-

 HOME MORTGAGE:                                   If no arrearage, ongoing payments are to be paid directly by the debtor(s).
 Citimortgage                                     Ongoing pmt. Begin DDA                                                               $        CURRENT
                                                  Approx. arrearage      0.00                   Interest      0.00    %                $            0.00
 HSBC Mortgage Services                           Ongoing pmt. Begin DDA                                                               $        CURRENT
                                                  Approx. arrearage      0.00                   Interest      0.00    %                $            0.00
 SECURED CREDITORS;                                                     VALUE                          RATE OF                             MONTHLY
 (retain lien 11 U.S.C. Sec. 1325{a}{5})                             COLLATERAL                       INTEREST                             PLAN PMT.
 Santander Consumer USA - SURRENDER
 Best Buy/CBNA                                                       $            2,382.05                         4.00    %           $                44.00
 Chrysler Capital                                                    $          28,267.04                         13.20    %           $               647.00
 First Heritage                                                      $             2800.00                         4.00    %           $                52.00
 General Appliance                                                   $             1118.25                         4.00    %           $                21.00
 General Appliance                                                   $             3349.70                         4.00    %           $                62.00
 Heights Finance Dyersburg                                           $             7207.00                         4.00    %           $               133.00
 Nissan Motor Acceptance                                             $           36462.00                          4.90    %           $               687.00
 Preferred Credit                                                    $            1,276.72                         4.00    %           $                24.00
 Regency Finance Corp.                                               $             8750.00                         4.00    %           $               162.00
 Republic Finance                                                    $             5248.95                         4.00    %           $                97.00
 World Finance Corp (Dyersburg)                                      $             2464.00                         4.00    %           $                46.00
 UNSECURED CREDITORS:                          Absent a specific court order otherwise, all claims, other than those specifically provided for above,
                                               shall be paid as general unsecured debts. Percentage to be determined by Trustee;

 ESTIMATED TOTAL UNSECURED, NON-PRIORITY DEBT: $10,633.00
 TERMINATION:                                       Plan shall terminate upon payment of the above, approximately 60 months.

OTHER PROVISIONS:
Rejected Leases
-NONE-:
Assumed Leases
-NONE-:




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 DEBTOR'S ATTORNEY:                               Gerald Ketchum 5888
                                                  Ketchum Law Firm
                                                  PO Box 1246
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